       Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 1 of 15




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                          )
PRISON LEGAL NEWS                         )
                                          )
                                          )
             Plaintiff,                   )
                                          )
v.                                        ) Civil Action No. 05-1812 (RBW)
                                          )
HARLEY G. LAPPIN, Director,               )
Federal Bureau of Prisons                 )
                                          )
             Defendant.                   )
__________________________________________)


DEFENDANT’S SECOND SUPPLEMENTAL STATEMENT OF MATERIAL FACTS AS
               TO WHICH THERE IS NO GENUINE ISSUE

    Pursuant to Local Rule 7(h), Defendant Federal Bureau of Prisons (BOP) hereby submits

Defendant’s Second Supplemental Statement of Material Facts as to which there is no Genuine

Dispute supported by the Supplemental Declarations of: Kimberly Blow, Administrative

Technician for the Litigation Branch of the Office of General Counsel, BOP, Washington, D.C.;

Renée Brinker-Fornshill, Assistant General Counsel for Litigation Branch of the Office of

General Counsel, BOP, Washington, D.C.; Kathleen White, Senior Equal Employment

Opportunity Specialist for the Discrimination and Ethics Branch of the Office of General

Counsel, BOP, Washington, D.C.; Deidre J. Williams, Paralegal Specialist for Labor Law

Branch of the Office of General Counsel, BOP, Washington, D.C; Cynthia Lawler, Paralegal

Specialist for the Real Estate and Environmental Law Branch of the Office of General Counsel,

BOP, Washington, D.C.; Docia M. Casillas, Supervisory Labor Management Relations

Specialist for the Labor Management Relations Section, BOP, Washington, D.C.; LeeAnn Tufte,

Paralegal Specialist for the North Central Regional Office, BOP, Kansas City, Kansas; Michael
           Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 2 of 15




D. Tafelski, Deputy General Counsel for the Northeast Regional Office, BOP, Philadelphia,

Pennsylvania; Alecia S. Sillah, Senior Paralegal for the Mid-Atlantic Regional Office, BOP,

Annapolis, Maryland; Karen Summers, Paralegal Specialist for the South Central Regional

Office, BOP, Dallas, Texas; Christine M. Greene 1 , Paralegal Specialist for the Southeast

Regional Office, BOP, Atlanta, Georgia; Vickie Petricka, Supervisory Paralegal Specialist for

the Western Regional Office, BOP, Dublin, California. These declarations describe the search

for documents in response to the following Freedom of Information Act (FOIA) request:

                    A copy of all documents showing all money paid by the BOP for
                    lawsuits and claims against it. This is all funds paid out to
                    claimants/litigants between January 1, 1996 through and including
                    July 31, 2003. I am requesting a copy of the verdict, settlement or
                    claim in each case showing the dollar amount paid, the identity of
                    the plaintiff/claimant and the legal identifying information for each
                    lawsuit or claim or attorney fee award. I am also requesting a copy
                    of the complaint (if it was a lawsuit) or the claim (if it was not) in
                    each incident which describes the facts underlying each lawsuit
                    and claim.


           In addition, this Second Supplemental Statement of Material Facts Not in Dispute is also

supported by the May 14, 2010 Supplemental Declaration of Wilson Moorer and Vaughn Index.

                                                  THE SEARCH

OFFICE OF GENERAL COUNSEL – LITIGATION BRANCH

           1. Kimberly Blow conducted a search for responsive records in the Litigation Branch of

the Office of General Counsel. The only responsive records maintained in the Litigation Branch

of the Office of General Counsel are located in Content Manager, a computer database that

contains information about cases against the Bureau. Supplemental Blow Decl. at ¶3. The only



1
    Ms. Greene is providing a Supplemental Declaration for the previously filed Declaration of Georgeanne Osborn.
                                                          2
        Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 3 of 15




means of creating an accurate and complete list of responsive records maintained in Central

Office was to review Content Manager. Id. at ¶4.

        2. Ms. Blow conducted the review of Content Manager by utilizing the pre-formatted

search criteria for searching Content manager. The criteria used were date range and case

resolution. Ms. Blow restricted the dates of the search to January 1, 1996, through and

including, July 31, 2003. She restricted the case resolution to “settled”. Id. at ¶5.

        3. Based on Ms. Blow’s review of Content Manager, all responsive claims maintained in

the Central Office – Litigation Branch were identified. Id. at ¶5.

        4. Ms. Reneé Brinker Fornshill also conducted a search for records in the Office of

General Counsel, Litigation Branch. Supplemental Fornshill Decl. at ¶6.

        5. Ms. Brinker Fornshill reviewed the database and file cabinet in her search for relevant

documents. Id. at ¶4. She conducted a review by searching in the electronic tort claim database

for the words “approved” and “payment” as search terms, in which two tort claim letters were

identified. Id. at ¶5.

OFFICE OF GENERAL COUNSEL – DISCRIMINATION COMPLAINTS AND ETHICS

BRANCH

        6. Kathleen White conducted the search for documents in the Discrimination Complaints

and Ethics Branch of the Office of the General Counsel by searching Lawpack for all EEO

complaints that had the description of “SETT”, which indicates “Settlement” from January 1,

1996 through and including July 31, 2003. 2 Lawpack does not make the distinction as to

whether settlements are monetary or non-monetary. For each case that had a settlement


2
  Lawpack is a web based database program used to log, categorize and maintain lawsuits filed against the BOP by
inmates and civilians.
                                                        3
       Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 4 of 15




indicated, the hard copy of the complaint file was retrieved from the file room and the complaint

and settlement were manually retrieved to determine if the terms of the settlement were monetary

or non-monetary. This search and review process took several weeks to complete. Supplemental

White Decl. at ¶5.

       7. Ms. White’s review of approximately 190 EEO complaints that had settlements

entered from January 1, 1996 through and including July 31, 2003 revealed that all responsive

claims maintained in Central Office had been identified. The Lawpack Database is the only

source that would reveal responsive documents maintained by the Central Office. Id. at ¶6.

OFFICE OF GENERAL COUNSEL – LABOR LAW BRANCH

       8. Deidre J. Williams conducted the search for records in the Labor Law Branch of the

Office of General Counsel. In conducting the search for documents, the only means of creating

an accurate and complete list of responsive records maintained in the Labor Law Branch was to

review quarterly reports sent to the Labor Law Branch which had been prepared by attorneys

assigned to the Labor Law Branch. The respective quarterly reports chronologically track and

identify the status of every case assigned to each Labor Law Branch attorney. The quarterly

reports are sent to Ms. Williams via electronic mail, printed and maintained in paper format in

her office. Supplemental Williams Decl. at ¶4.

       9. Ms. Williams conducted the search for documents by gathering the hard copies of the

quarterly reports prepared by the attorneys for the relevant time period, specifically from January

1, 1996, through and including July 31, 2003. Her review of the quarterly reports involved

reviewing each report to identify every case wherein a decision, verdict, or settlement involved

monetary damages or attorney’s fees had been noted. Id. at ¶5.


                                                 4
       Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 5 of 15




       10. Ms. Williams’ review of the quarterly reports revealed that all responsive claims

maintained in the Labor Law Branch had been identified. The quarterly reports are the only

source that would reveal responsive documents maintained by the Labor Law Branch. Id. at ¶6.

OFFICE OF GENERAL COUNSEL – REAL ESTATE AND ENVIRONMENTAL LAW

BRANCH

       11. Cynthia Lawler conducted the search for documents in the Real Estate and

Environmental Branch of the Office of General Counsel (REEL). The only means of creating an

accurate and complete list of responsive records maintained in the Real Estate and

Environmental Law Branch was to review the real estate and environmental files. The

documents reviewed were located in the office filing system. The files are arranged in

alphabetical order by institution/region. Supplemental Lawler Decl. at ¶4.

       12. A list of relevant files were determined by the attorneys in the office. Ms. Lawler

reviewed each file to determine accurate dates and relevancy to the request. The relevancy of the

documents was confirmed by the attorneys in the office. Id. at ¶5.

       13. Ms. Lawler’s review of the real estate and environmental files revealed that all

responsive claims maintained in REEL had been identified. The real estate and environmental

files are the only source that would reveal responsive documents maintained by REEL. Id. at ¶6.

LABOR MANAGEMENT RELATIONS OFFICE

       14. Docia M. Casillas conducted the search for documents in the Labor Management

Relations Office. In conducting the search for documents, the only means of creating an

accurate and complete list of responsive records maintained in the Labor Management Relations

Office was to look inside file cabinets and review case files which would have included all

settlements or decisions maintained at the time the Labor Management Relations Office received
                                                5
          Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 6 of 15




the request. Supplemental Casillas decl. at ¶4. Each case file was reviewed for decisions and

settlements that were issued during the specified period of time. Id. at ¶5.

          15. All responsive claims maintained in the Labor Management Relations Branch were

identified during the office’s review of all case files. The decisions and settlements are the only

source that would reveal responsive documents maintained by the Labor Management Relations

Branch. Id. at ¶6.

NORTH CENTRAL REGIONAL OFFICE

          16. Leeann Tufte conducted the search for records in the North Central Regional Office

(NCR). The only means of creating an accurate and complete list of responsive records

maintained in the NCR was to review the Federal Tort Claim Act (FTCA) databases for all paid

claims between January 1, 1996, through July 31, 2003, and review the NCR Monthly Reports

for this time period. Supplemental Tufte Decl. at ¶4.

          17. In conducting the search for records, Ms. Tufte requested an electronic search of the

FTCA database for any claims that were paid during the described time period. This entailed a

search of two databases. First, the “LAWPACK” database covered the time period for October,

2000, through, the July 31, 2003. Second, for records prior to October of 2000, the “dBase”

system was searched for the requested information. 3 A query was run in LAWPACK by

identifying only those FTCA claims that had an amount awarded for payment. It was then

narrowed to exclude inmate property claims. Id. at ¶5. A query was run in dBase by identifying

only those FTCA claims that were greater than $0 in the amount paid. Id. at ¶5.

          18. The two search lists produced all FTCA claims that were paid by the NCR for the

specific time period. It was then narrowed to exclude inmate property claims. This narrowing

3
    dBase was the database used by the BOP prior to LAWPACK.
                                                        6
        Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 7 of 15




was done by reviewing the databases for each FTCA claim and identifying each specific

claimant as either inmate, staff or civilian. All FTCA claims with inmate claimants were

excluded from the search. Id. at ¶5.

        19. The search reports provided the FTCA number, name, register number, amount paid,

closed date, institution, and the type of claim. All of the FTCA files for this time period were

either stored at the NCR file room or the Federal Records Center (FRC). No copies of the claim

or payment records were maintained in the database. The office was required to retrieve all hard

paper files for each claim. For the time period in question these records were kept in paper

format. The paper version is currently and for the time period in question, the official BOP

record. Id. at ¶5.

        20. There are no electronic databases maintained for litigation files in the North Central

Region. The only documents which would identify any litigation cases that were awarded a

settlement of verdict awarding payment are the monthly reports. The monthly reports contained

a section for reporting any adverse decisions of settlements or judgment awards. The monthly

reports in the Regional Counsel’s office are maintained in hard paper format. A hard bound

binder for each year, containing twelve monthly reports, are maintained in the NCR file room.

Each binder for 1996-2002, and the subsequent twelve monthly reports located in those binders,

were reviewed for any cases listed as adverse decision or settlement/verdict awarded. The 2003

binder and monthly reports were searched for the months of January through July. The office

review revealed that fifty-one (51) cases were listed in the monthly reports that could possibly be

responsive. Id. at ¶5.

        21. The generated search report in LAWPACK identified ninety-eight (98) claims as

responsive. The generated search report in dBase identified nineteen (19) claims as responsive.
                                                 7
        Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 8 of 15




        22. The NCR file room was searched for those FTCA claim files that were stored in the

office and had not been shipped to the FRC. All FTCA claims for 2003 were in the NCR file

room and filed numerically by claim number. Twenty-one (21) of the ninety-eight files were

located in the NCR file room and the responsive documents (claim form (SF-95), and proof of

payment, voucher for payment form, etc.) were copied for submission as responsive. Id. at ¶5.

        23. The remaining FTCA files required retrieval from the Federal Records Center (FRC).

The Regional Counsel’s office in the NCR maintains a hard bound logbook for all archived legal

files (litigation and FTCA files) mailed to the FRC, since 1999. Both the archive logbook and

correspondence from the FRC identifies the location of each file stored at the FRC for each

separate year. Id. at ¶5.

        24. The NCR also contacted each Consolidated Legal Center (CLC) for assistance in

searching any of their litigation files for the remaining files for responsive records to those files

which were not located in the NCR file room or at the FRC. CLC staff located six (6) of the

litigation case files. Once these records were received from the NCR file room, FRC and the

CLC, the responsive documents (complaint, stipulation or order revealing verdict or settlement)

were copied for submission as responsive. Of the fifty-one (51) cases identified, forty-one (41)

cases were located and their subsequent responsive records were provided for submission. Id. at

¶5.

NORTHEAST REGIONAL OFFICE

        25. In conducting the search for documents at the Northeast Regional Office (NERO),

the most thorough method to identify responsive cases was through the use of the monthly

reports, maintained on-site at the NERO, which reflect litigation cases in which a settlement or

judgment occurred. Supplemental Declaration of Michael Tafelski at ¶4.
                                                   8
        Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 9 of 15




        26. In determining which responsive administrative tort claim records existed, the NERO

staff developed a list of administrative tort claim files in which the Bureau paid money damages

to claimants for the relevant time period. The most thorough method to identify responsive tort

records was the Tort Information Management System (TIMS) program, which was utilized by

the Bureau from 1992 until October 1999 and the Lawpack database from November 1999 until

October 2007. These electronic file systems were used for Federal Tort Claims Act (FTCA),

CECA, and BOPCA administrative claims, and identified settlement offers. Id. at ¶4.

        27. The search for litigation matters was conducted by a review of an electronic version

of each monthly report for the entire time period in question (January 1, 1996, through July 31,

2003.). For tort claims, a review was conducted of the databases for claims paid the entire time

period in question (January 1, 2996, through July 31, 2003.) excluding property claims. Id. at ¶5.

        28. Mr. Tafelski’s review of the electronic monthly reports, PACER, TIMS and

Lawpack revealed that all responsive claims maintained in the Northeast Regional Office had

been identified. The electronic monthly reports, PACER, TIMS and Lawpack were the sources

that would reveal responsive documents maintained by the Northeast Region. Id. at ¶6.

MID-ATLANTIC REGIONAL OFFICE

        29. Alecia Sillah conducted the search for records in the Mid-Atlantic Regional Office.

The only means of creating an accurate and complete list of responsive records maintained in the

Mid-Atlantic Regional Office was to review the Mid-Atlantic Regional Office’s Monthly

Reports from January 1996 through July 2003. Each monthly report provides the litigation and

tort claim settlements paid to a complainant/plaintiff. The monthly reports were reviewed and

the cases were identified that were settled during the requested time period. Ms. Sillah then

searched the litigation files in the office for the specific cases.
                                                    9
       Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 10 of 15




        30. Ms. Sillah requested the files from the Federal Records Center, Suitland, Maryland

20746, as most of the files were archived. After receipt of the boxes from archives, Ms. Sillah

searched and retrieved from each box the responsive litigation and tort claim settlement files.

Supplemental Sillah Decl. at ¶4.

SOUTH CENTRAL REGIONAL OFFICE

        31. Karen Summers responded on the search for documents in the South Central

Regional Office (SCRO). For the time period in question, the official Bureau record for

litigation and administrative claim files were kept in paper format. Summers decl. at ¶4.

        32. The list for responsive documents was generated through use of the monthly reports,

maintained on-site at the SCRO, which reflect litigation cases in which a settlement or judgment

occurred. The monthly reports contain a section entitled, Cases with Settlement or Awards. This

section of each monthly report was manually reviewed to develop the list in which the Bureau

paid money damages and/or attorney’s fees to litigants or claimants for the relevant time period.

Id. at ¶5.

        33. In searching for the responsive administrative claim records, the Tort Information

Management System (TIMS) program, utilized by the Bureau of 1992 until October 1999, and

the Lawpack database, containing information from November 1999 until October 2007, were

searched. The databases were used to generate a list of administrative claim files where

settlement offers were made. The institution financial management staff was contacted, and

thereafter, forwarded settlement documentation for those claims that had been paid. Id. at ¶6.

SOUTHEAST REGIONAL OFFICE

        34. Christine Greene provided a Supplemental Declaration to the previously filed

Declaration by Georganne Osborn for the search for documents in the Southeast Regional Office
                                                10
       Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 11 of 15




(SERO). The only means of creating an accurate and complete list of responsive records

maintained in SERO was to generate a report utilizing the Lawpack database for all responsive

administrative torts. All Tort Claims processed by SERO for the time period in question were

logged into Lawpack. Greene Decl. at ¶4.

       35. Ms. Osborn also conducted a search of responsive litigation documents by reviewing

the Southeast Regional log. This log contains the relevant information for litigation processed

by SERO office for the time period in question. Ms. Osborn’s review of the log revealed that all

responsive claims were identified. Id. at ¶5. The log and Lawpack search report are only sources

that would reveal responsive documents maintained by SERO. Id. at ¶6.

WESTERN REGIONAL OFFICE

       36. Vickie Petricka conducted the search for documents in the Western Regional Office

by reviewing Lawpack and the Western Regional Counsel’s monthly reports. Supplemental

Petricka Decl. at ¶4.

       37. In the search on Lawpack, a query was run for the time period in question for claims

paid in the Western Regional Office. The staff reviewed the monthly reports for the time period

in question for claims paid. The review of Lawpack and the Regional Counsel’s monthly reports

revealed that all responsive files for the Western Region were identified. At the time, the

Lawpack database and the Regional Counsel’s monthly report were the only sources that would

reveal responsive documents maintained by the Western Region. Id. at ¶5.

                                      THE EXEMPTIONS

SUPPLEMENTAL DECLARATION OF WILSON MOORER

       38. Mr. Moorer personally reviewed the 11,461 pages of responsive documents that were

forwarded to him. Supplemental Moorer Decl. at ¶8 (May 14, 2010).
                                                11
       Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 12 of 15




       39. The exemptions applied by Mr. Moorer are set forth in the attached Vaughn Index.

Exemptions (b)(6), (b)(7)(C), and (b)(2) Low were applied to the releases on May 4, 2007 (594

pages were released-188 in their entirety and 416 with redactions); on May 25, 2007 (1965 pages

were released-1396 in their entirety and 569 with redactions); on July 30, 2007 (900 pages were

released-392 in their entirety and 508 with redactions); August 17, 2007 (1026 pages were

released-393 in their entirety and 633 with redactions); on October 15, 2007 (2502 pages were

released-1720 in their entirety and 782 with redactions); and on October 30, 2007 (4474 pages

were released-4379 in their entirety and 95 with redactions). Id. at ¶9.

       40. The Vaughn Index is separated into categories of documents as the exemptions were

applied to each respective category. Federal Tort Claims Act (FTCA) documents included

Standard Form SF-95 and Settlement Vouchers. Litigation documents included complaints filed

in district courts, settlement documents generated in connection with claims filed in district

court, and judgements reached in connection with claims filed in district court. EEOC

documents included Complaint of Discrimination Form DOJ201, Settlement Agreements, Order

of Dismissal, Settlement or Comprise Agreement, Notice of Settlement, Agency Offer of

Resolution, Order of Stipulation and/or Merit Systems Protection Board Settlement Agreements.

Labor Management Relations document is the Merit Systems Protection Board Appeal Form.

Labor Law documents included Settlement, Settlement Agreements, Judgements, and Joint

Stipulation of Entry of Final Judgment. Each category contained a number of general

correspondence which included e-mails, facsimile cover sheets, letters. Id. at ¶10.




                                                 12
       Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 13 of 15




                                      Tort Claim Form, SF 95

a.       All personal names, all personal addresses, all personal telephone numbers, all personal
social security numbers, and other personal information were exempted pursuant to (b)(6) and
(b)(7)(C) and applied to protect the personal information of individuals who filed a tort claim and
the personal information of BOP staff who filed a tort claim. The disclosure of this information
would constitute an unwarranted invasion of personal privacy of the individuals;


                                       Tort Claim Judgments

b.      All personal names, all personal addresses, and personal social security numbers were
exempted pursuant to (b)(6) and (b)(7)(C) and applied to protect the personal information of
individuals and BOP staff who received financial judgments for tort claim they filed. The
disclosure of this information would constitute an unwarranted invasion of personal privacy of the
individuals;


                                      Tort Claim Settlements

c.        All personal names, all personal addresses, all personal social security numbers, and
personal banking information were exempted pursuant to (b)(6) and (b)(7)(C) and applied to
protect the personal information of individuals and BOP staff who received financial settlements
for tort they filed. The disclosure of this information would constitute an unwarranted invasion of
personal privacy of the individuals;


                                             Litigation

d.        All personal addresses, all personal telephone numbers, all personal social security
numbers, and all personal vehicle information were exempted pursuant to (b)(6) and (b)(7)(C) and
applied to protect the personal information of individuals and BOP staff named as defendants in
litigation. The disclosure of this information would constitute an unwarranted invasion of personal
privacy of the individuals;


                           Complaint of Discrimination, Form DOJ 201

e.       All personal names, all personal addresses, all personal telephone numbers, EEOC
file/Agency file numbers, and personal identifying information of the complainants and a summary
of the complaint were exempted pursuant to (b)(6) and (b)(7)(C) and applied to protect portions of
the complaint that revealed personal information regarding the complainant, the circumstances
regarding the complaint, and information regarding BOP staff. The disclosure of this information
would constitute an unwarranted invasion of personal privacy of the individuals;

                                                 13
            Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 14 of 15




                                     EEO Settlements and Judgments

f.   All personal names and EEOC file/Agency file numbers were exempted pursuant to (b)(6),
     (b)(7)(C) and (b)(2) Low. Exemptions (b)(6) and (b)(7)(C) were applied to protect the names of
     individual complainants who filed complaints of discrimination against the BOP and received a
     settlement. Exemption (b)(2)Low was applied to the EEOC file number and agency file number of
     complaints filed against the BOP where a judgement/settlement was entered. The disclosure of
     this information would constitute an unwarranted invasion of personal privacy of the individuals;


                                       Labor Management Relations

     g.       Personal identifying psychiatric/medical information of individual appellants who filed
     complaints against the BOP were exempted pursuant to (b)(6)and applied to protect the personal
     psychiatric and medical records of individuals who have filed a labor grievance against the BOP.
     The disclosure of this information would constitute an unwarranted invasion of personal privacy of
     the individuals; and


                                                Labor Law

     h.        All social security numbers were exempted pursuant to (b)(6) and applied to protect the
     social security numbers of individuals who have filed a grievance against the BOP. The disclosure
     of this information would constitute an unwarranted invasion of personal privacy of the
     individuals.

     See Vaughn Index.




                                                     14
      Case 1:05-cv-01812-RBW Document 73-1 Filed 06/01/10 Page 15 of 15




                                    Respectfully submitted,


                                    RONALD C. MACHEN JR.
                                    United States Attorney
                                    for the District of Columbia


                                    RUDOLPH CONTRERAS
                                    Chief, Civil Division


                                    By: ___________________________
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                                      15
